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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA
                                FORT LAUDERDALE DIVISION

    UNITED STATES OF AMERICA,                )
                                             )
             Petitioner,                     )              Case No.
                                             )
             v.                              )
                                             )
    KEVIN W. WESSELL,                        )
                                             )
             Respondent.                     )
    ________________________________________ )

                    SUPPLEMENTAL DECLARATION OF KAREN CINCOTTA

           I, Karen Cincotta, pursuant to 28 U.S.C. § 1746, declare and state:

           1.     I am a duly commissioned Internal Revenue Agent assigned as a Supervisory

   Revenue Agent in the Offshore Compliance Initiatives Program of the Internal Revenue Service.

   The Offshore Compliance Initiatives Program develops projects, methodologies, and techniques

   for identifying United States persons who are involved in abusive offshore transactions and

   financial arrangements for tax avoidance purposes. I started as a Revenue Agent in 2005, have

   specialized in offshore investigations since 2009, and have been a Supervisory Revenue Agent

   since 2019. I have been with the Offshore Compliance Initiatives Program since September

   2013.

           2.     As a Revenue Agent and Supervisory Revenue Agent, I have received training in

   tax law and audit techniques and have received specialized training in abusive offshore tax

   issues. I also have experience investigating offshore tax matters.

           3.     The IRS is conducting an investigation to determine the identities and correct

   income tax liabilities of United States persons who used the services of the Wessell Group



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   between 2012 and 2017 to establish, maintain, operate, or control: any foreign financial account

   or other asset; any foreign corporation, company, trust, foundation, or other legal entity; or any

   foreign or domestic financial account or other asset in the name of a foreign entity.

          4.      The Wessell Group is comprised of entities and websites that are operated by, that

   appear to be controlled by, and that are (or in the past have been) at least partially owned by

   Kevin W. Wessell (“Mr. Wessell”). The IRS believes that the Wessell Group is providing

   offshore services to U.S. persons to hide their beneficial ownership of assets.

          5.      The Wessell Group includes the following entities: Eagle Estate, LLC; Lincoln

   International Services, Inc; Lincoln Management Group, LLLP; Eagle Rock Mountain, LP; LAP

   Trust; Incway Corporation Which Will Do Business In California As Companies Incorporated;

   Companies Inc.; Worldwide Education Services; 1-800-Company; 1-800-Company, LLLP;

   Presidential Services Incorporated; PSI Holdings, Inc.; National Management Associates, Inc.,

   doing business in California as General Corporate Services, Inc.; Offshore Corporation;

   OffshoreCorporation.com, which is a website; Offshore Company, Inc., which is a website;

   CanadianCorp.com, which is a website; and Corporacion.com, which is a website.

          6.      In connection with the IRS’s investigation, the United States filed sealed ex parte

   petitions, pursuant to 26 U.S.C. § 7609(f), in three jurisdictions seeking leave to serve “John

   Doe” summonses. The petition filed in this Court sought permission to serve a summons on,

   inter alia, Mr. Wessell.

          7.      On September 13, 2018, Judge William P. Dimitrouleas signed a sealed order

   granting the United States’ petition. See Exhibit A. That order and the remaining case documents

   were subsequently unsealed on September 28, 2018. See Exhibit B.




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          8.      In connection with the United States’ petition, I executed a declaration, which is

   attached as Exhibit C. That declaration sets out in detail the activities of the Wessell Group,

   including the use of offshore trusts and nominee directors, and the reasons why there is a

   reasonable basis to believe that the Wessell Group’s customers may fail or may have failed to

   comply with one or more internal revenue laws.

          9.      In accordance with 26 U.S.C. § 7609(f) and Judge Dimitrouleas’s order, the IRS

   issued a summons to Mr. Wessell directing him to appear on October 26, 2018 at 10:00 a.m.

   before me or my designee at the Internal Revenue Service Office at 7850 SW 6th Court in

   Plantation, FL, to provide testimony and to produce for examination books, records, papers, and

   other data. A copy of the summons is attached as Exhibit D.

          10.     In accordance with 26 U.S.C. § 7603(a), an IRS revenue agent personally served

   Mr. Wessell with the summons on September 26, 2018. See Exhibit E.

          11.     The summons seeks records that may identify the names and transactional

   activities of the John Doe class comprised of U.S. persons who used the Wessell Group’s

   services between 2012 and 2017 to establish, maintain, operate, or control: any foreign financial

   account or other asset; any foreign corporation, company, trust, foundation, or other legal entity;

   or any foreign or domestic financial account or other asset in the name of a foreign entity.

          12.      This information, including what has yet to be produced, may be relevant to the

   underlying IRS investigation to determine the identities and correct income tax liabilities of such

   persons.

          13.     On February 22, 2019, Mr. Wessell provided the IRS with a spreadsheet listing

   1,470 customers, the names of their affiliated entities, and the jurisdictions where the entities are




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   or were located.

          14.     On May 6, 2019, the IRS received from Mr. Wessell a production described as a

   “USB drive containing 2,849 documents relating to the first 25 Wessell Group customers.” This

   production included over 600 documents relating to over 170 entities not included on Mr.

   Wessell’s list from February 22, 2019. The IRS manually reviewed each document and tagged

   the document to its related entity.

          15.     On November 25, 2019, the IRS received Mr. Wessell’s production of a single

   Excel spreadsheet containing 1,470 customer names, together with their affiliated entities’ names

   and the jurisdictions in which the entities are or were located. The list was identical to the list of

   customers Mr. Wessell provided on February 22, 2019, except that it also included additional

   data for each customer. The IRS noted that Mr. Wessell’s spreadsheet contained duplicate entries

   and incorrect spellings, and the individual names listed were not necessarily the owners,

   directors, shareholders, or managers of the associated companies. Because the Excel spreadsheet

   Mr. Wessell provided listed one or more companies per row, the IRS added additional rows as

   needed so that there would be only one entity/company per row.

          16.     Mr. Wessell’s spreadsheet did not include certain customers the IRS learned about

   from another party that produced records regarding the Wessell Group pursuant to a related John

   Doe summons. This is so even though these customers are U.S. taxpayers who fit the criteria for

   inclusion in the John Doe class. Three examples are Pedro Benevides, who is the beneficial

   owner of European Investments Group, LLC; Molly R. Chen, who is the beneficial owner of

   Jemic Company, LLC; and Liora Wall, who is the beneficial owner of Jewish Genealogy

   Services Ltd. This list is not intended to be exhaustive.




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          17.     The IRS added the information obtained from the other summoned party, along

   with the 170-plus entity names from ¶ 14, supra, to Mr. Wessell’s spreadsheet to create a master

   list of all identified Wessell Group customers and entities (the “Master List”). The purpose of the

   Master List is to capture all taxpayers, entities, and related information identified by the IRS

   when reviewing the summoned records production. Information was entered into the Master List

   as summoned information was received and analyzed, and organized into categories, which

   included individuals’ names, individuals’ Social Security numbers, and entities’ names.

          18.     On March 4, 2020, the IRS received Mr. Wessell’s production of 642,051

   documents. These documents were on a USB drive in several electronic formats. Upon receipt,

   the IRS loaded Mr. Wessell’s entire production into a Relativity database. The 2,849 documents

   Mr. Wessell produced on May 6, 2019 were also loaded into Relativity. The IRS searched the

   Wessell Group data in Relativity by using information collected in the Master List.

          19.     The IRS assigned a three-member team of Senior Revenue Agents to review the

   March 20, 2020, production in Relativity, together with the support of an IRS Relativity

   Technical Advisor (collectively, “The IRS Team”). The IRS Team analyzed the records

   productions, including the unstructured documents which do not have a pre-defined data model,

   such as pdf documents. The IRS Team then extracted from the documents and emails the names

   of individuals and entities. Each of these types of documents were produced in different formats.

   One method the IRS used was Search Term Reports (“STRs”) to tag the documents to their

   related entities using search terms identified from the names of entities and individuals, and from

   email addresses. All information extracted from the documents Mr. Wessell produced was

   included in the Master List.




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           20.    The IRS used the following Relativity tools and functions to search the documents

   Mr. Wessell produced:

                  a. Document tagging: allows the user to mark sections of text within a transcript

   that you can then be referenced through hyperlinks. IRS reviewed and tagged each document

   based on the fields or options created by the IRS Relativity Technical Advisor. For example, a

   list of entity names for IRS to tag, an option for IRS to request a second level IRS reviewer,

   and/or to add a reviewer note if needed.

                  b. dtSearch indexing: A search index option that allows a user to perform

   proximity searches (finding documents with keywords or phrases occurring within a certain

   proximity of each other), stemming (which returns documents containing grammatical variations

   of a root word), and or advanced keyword searching options (to query a full text index).

                  c. STRs: STRs provided the ability to identify documents containing specific

   key words. The IRS Relativity Technical Advisor could enter multiple terms and generate a

   report listing the number of hits for each search term in a document.

                  d. Saved Searches: A saved search is a saved set of defined criteria with custom

   queries and unique views used to return the latest documents that meet the defined criteria.

           21.    The IRS Team’s search terms used for the Master List included, but was not

   limited to, the following:

                  a. Bank;

                  b. Corp;

                  c. LDC or “Limited Duration Company”;

                  d. LDC;




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                  e. Limited Duration Company;

                  f. Limited;

                  g. LLC;

                  h. LLP;

                  i. LP;

                  j. LTD; and

                  k. Trust.

           22.    Using the Relativity tools described in paragraph 20, supra, the IRS Team used

   the Master List to extract a list of entity names and loaded these entity names into Relativity to

   manually tag/link documents to the related entity name. Together, the IRS Team tagged the

   production of the 2,849 documents to the related entities and identified nonresponsive, blank, or

   unreadable documents. The IRS Team reviewed the documents on the list and tagged the correct

   entity names or individual names based on the Master List, or determined if there were Relativity

   technical issues with Optical Character Recognition (OCR) for unreadable documents due to a

   poorly scanned image. After tagging the documents, there were approximately 177 new entity

   names identified and added to the Master List and to Relativity.

           23.    The IRS Team applied the following steps to each of the saved searches when

   reviewing the March 4, 4020 production of 642,051 documents:

                  a. Downloaded all documents in the saved search to an Excel workbook;

                  b. Grouped the documents by file types;

                  c. Created a worksheet for PDF documents;

                  d. Eliminated the duplicates based on the MD5Hash number;




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                  e. Identified key word(s) to search for documents that had potential for review;

                  f. Reviewed and extracted important data for risk assessment;

                  g. Identified the documents that had no potential for review using key words file

   names/paths.

           24.    Before reviewing the 116,538 PDF documents identified from the saved searches,

   the IRS Team first eliminated duplicate documents using the MD5Hash number. 1 The IRS Team

   identified 59,410 duplicates, and 28 PDF’s with no MD5Hash, meaning they could not be

   rendered, leaving 57,100 PDFs for review. The IRS Team first reviewed the PDF documents to

   extract the information related to foreign banks, foreign trusts, and foreign entities.

           25.    Then, the IRS Team reviewed the other types of documents using family

   documents (for related documents), search terms, or file names/paths, etc. if needed.

           26.    The data was then exported into Excel to show a list of entity names and total

   documents tagged. The IRS Team reviewed the Excel report and selected the entities/individuals

   which needed a more in-depth review for potential non-compliance.

           27.     Of the May 6, 2019 production of 2,849 documents, the IRS Team noted the

   following:

                  a. 162 were blank or unreadable;

                  b. 142 were emails that contained only individuals’ names, but not entity names;

                  c. 81 were internal Wessell Group forms or instruction documents, with no




   1 MD5  Hash is an industry standard and accepted methodology for de-duping. How Relativity
   processing calculates the MD5 hash causes duplicate emails across psts to be assigned different
   MD5 hashes.



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   individual or entity information;

                   d. 613 contained entity names not on the February 22, 2019, spreadsheet

   provided by Mr. Wessell; and

                   e. the remaining 1,851 contained documents with entities or individuals on the

   February 22, 2019 spreadsheet provided by Mr. Wessell.

           28.     As of August 12, 2021, the IRS Team had run 5,483 search terms of the names of

   individuals and entities on the Master List. Of the 5,483 searches, 841 resulted in zero documents

   identified and, thus, could not be tagged to entity formation or bank account documents. For

   individuals (as distinct from entities), the IRS searched the data by each individual’s last name. If

   the last name was a common last name or a common word, the search was for all instances in

   which the last name appeared within three words of the first name. Of the individuals’ names

   searched, 109 resulted in zero documents identified. See exhibit F (list of 109 names of

   individuals).

           29.     The remaining 732 searches that did not return any hits were for entity names.

   When an entity appeared to have multiple name variations, the IRS ran searches of all known

   variations. As a result, the number of unique entities for which there were no responsive

   documents is lower than 732. See Exhibit G (list of 732 entity names).

          30.      The 109 individuals and 732 entities for which there were no results meet the

   criteria for inclusion in the John Doe class. In particular, the individuals are U.S. persons who

   used the Wessell Group’s services between 2012 and 2017 to establish, maintain, operate, or

   control: any foreign financial account or other asset; any foreign corporation, company, trust,

   foundation, or other legal entity; or any foreign or domestic financial account or other asset in




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    the name of a foreign entity. The entities are associated with U.S. persons who are part of the

    John Doe class.

           31.     Also, as of August 12, 2021, the IRS Team has searched Relativity using a total of

    over 35,000 search terms, including the search terms used for Mr. Wessell’s May 6, 2019

    production of the 2,849 documents, to tag/identify approximately more than 546,000 documents

    to Wessell clients, out of the 642,051 documents produced by Mr. Wessell. Of the 642,051

    documents produced, the IRS determined that 95,494 of the documents were nonresponsive to

    the summons, meaning that the document did not show up in the STRs, and/or were blank and/or

    unreadable. Based on the analysis the IRS Team performed on the untagged documents, the IRS

    Team determined that, of the remaining documents, less than 1% related to additional potential

    Wessell clients.

            32.    Some of the search terms that yielded no results came from names identified by

    the other summons recipient who produced records, but the majority of them were derived from

    Mr. Wessell’s own customer list.

            33.    Among the names and entities for which there were no results are the ones

    identified in ¶ 16, supra.

            34.    Because the Wessell Group sold pre-packaged bundles to its customers, the IRS

    expected to see in Mr. Wessell’s document production the same categories of documents for

    each customer who purchased the same offshore package from the Wessell Group. However, for

    reasons that remain unexplained, that has not been the case.

            35.    One example of this is records related to LDCs. In my initial declaration, I

    explained how the Wessell Group set up International Business Companies (“IBCs”). Exhibit C




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    ¶¶ 64–68. I concluded that the use of such IBCs is consistent with an effort to “avoid . . . United

    States tax obligations” and to “conceal . . . beneficial ownership of the offshore entity.” Id. ¶ 67.

            36.    LDCs are similar to IBCs. The use of offshore LDCs has the hallmarks of tax

    noncompliance for the same reasons identified in my initial declaration with respect to IBCs.

            37.    The IRS reviewed the documents that Mr. Wessell produced related to 41 LDCs.

    Although a document produced by Mr. Wessell states that operating agreements and articles of

    organization are required documents for LDCs, there were 24 LDCs for which the IRS could not

    locate an operating agreement and 15 for which the IRS could not locate articles of organization.

    See Exhibit H at 3 (document explaining recordkeeping requirements); Exhibit I (list of entities

    with missing documents).

            38.    In sum, Mr. Wessell appears to have failed to fully comply with the summons.

    This failure continues to this date.

            39.    The documents that appear to be missing are relevant because the IRS cannot

    determine the correct tax liabilities of Wessell Group customers who remain unknown.

    Relatedly, even if the IRS knows a particular customer’s name, not having complete information

    about that person’s associated entities could hamper the investigation. The missing documents

    would identify the customers and contain information about their offshore transactions, which

    would allow the IRS to undertake appropriate examinations to determine whether these

    customers accurately reported their tax liabilities.

            40.    The IRS is not seeking the reproduction of documents Mr. Wessell has already

    produced. The other documents sought by the summons are not already in the possession of the

    IRS.




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            41.    All administrative steps required by the Internal Revenue Code for issuance and

    service of the summons have been followed.

            42.    As of the date the summons to Mr. Wessell was issued, the identities of the John

    Does were unknown. Accordingly, the IRS could not know at the time the summons was issued

    whether there was any “Justice Department referral,” as that term is described in Section

    7602(d)(2) of the Internal Revenue Code, in effect for the years between 2012 and 2017 related

    to the John Does. Additionally, because the IRS still does not know the identities of John Does

    who Mr. Wessell has not yet identified, the IRS does not know whether there is any Justice

    Department referral currently in effect with respect to the years 2012 through 2017 for those

    John Does.

            43.    As a result of the partial production Mr. Wessell has made, the IRS was able to

    identify more than 24,000 names that could be part of the John Doe class. The IRS searched

    these names to determine whether any of them are subject to a Justice Department referral

    related to the years 2012 through 2017. The IRS identified four individuals who are subject to

    Justice Department referrals related to the relevant timeframe. The IRS is not seeking the

    production of additional documents related to these individuals. However, all of the information

    related to these referrals is the return information of those taxpayers and, as such, is protected

    from disclosure pursuant to 26 U.S.C. § 6103. As a result, the IRS cannot identify these

    individuals to Mr. Wessell so that he can cull their non-responsive records from the production

    we seek. To ensure strict compliance with § 7602(d)(2), the IRS is will utilize a filter team to

    review all documents that are newly produced by Mr. Wessell in response to this petition to

    enforce. The filter team can determine whether any of the newly produced documents relate to




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    any of the four individuals who are subject to Justice Department referrals for the relevant years.

    To the extent that any of the newly produced documents relate to any of these four individuals,

    the filter team will destroy the documents related to these individuals. For all newly produced

    documents pertaining to taxpayers who are not the subject of a Justice Department referral for

    the relevant years, the filter team will provide the documents to the IRS team assigned to the

    Wessell Group matter.

                   Executed this _____
                                   23 day of May, 2022.



                                                  __________________
                                                  KAREN CINCOTTA
                                                  Supervisory Internal Revenue Agent
                                                  Internal Revenue Service




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                          Exhibit B
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                          Exhibit D
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                 Provisions of the                                                                    Sec. 7603. Service of summons
                                                                                                      (a) In general - A summons issued under section 6420(e)(2), 6421(g)(2), 6427(j)(2), or 7602
                 Internal Revenue Code                                                                shall be served by the Secretary, by an attested copy delivered in hand to the person to
                                                                                                      whom it is directed, or left at his last and usual place of abode; and the certificate of service
                                                                                                      signed by the person serving the summons shall be evidence of the facts it states on the
                                                                                                      hearing of an application for the enforcement of the summons. When the summons requires
Sec. 7602. Examination of books and witnesses                                                         the production of books, papers, records, or other data, it shall be sufficient if such books,
(a) Authority to Summon, etc. - For the purpose of ascertaining the correctness of any re-            papers, records, or other data are described with reasonable certainty
turn, making a return where none has been made, determining the liability of any person for
                                                                                                      (b) Service by mail to third-party recordkeepers. -
any internal revenue tax or the liability at law or in equity of any transferee or fiduciary of any            (1) In general. - A summons referred to in subsection (a) for the production of
person in respect of any internal revenue tax, or collecting any such liability, the Secretary                 books, papers, records, or other data by a third-party recordkeeper may also be
is authorized -                                                                                                served by certified or registered mail to the last known address of such
         (1) To examine any books, papers, records, or other data which may be relevant or                     recordkeeper.
         material to such inquiry.                                                                             (2) Third party record keeper. - For purposes of paragraph (1), the term third-party
         (2) To summon the person liable for tax or required to perform the act, or any officer                recordkeeper means -
         or employee of such person, or any person having possession, custody, or care of                             (A) any mutual savings bank, cooperative bank, domestic building and
         books of account containing entries relating to the business of the person liable for                        loan association, or other savings institution chartered and supervised
         tax or required to perform the act, or any other person the Secretary may deem                              as a savings and loan or similar association under Federal or State law,
         proper, to appear before the Secretary at a time and place named in the summons                             any bank (as defined in section 581), or any credit union (within the
         and to produce such books, papers, records, or other data, and to give such                                  meaning of section 501 (c)(14)(A));
         testimony, under oath, as may be relevant or material to such inquiry; and                                   (B) any consumer reporting agency (as defined under section 603(f) of
         (3) To take such testimony of the person concerned, under oath, as may be relevant                          the Fair Credit Reporting Act (15 U.S.C. 1681 a(f));
         or material to such inquiry.                                                                                 (C) Any person extending credit through the use of credit cards or
                                                                                                                     similar devices;
(b) Purpose may include inquiry into offense. - The purposes for which the Secretary may
                                                                                                                     (D) any broker (as defined in section 3(a)(4) of the Securities Exchange
take any action described in paragraph (1), (2), or (3) of subsection (a) include the purpose
                                                                                                                     Act of 1934 (15 U.S.C. 78c(a)(4));
of inquiring into any offense connected with the administration or enforcement of the internal                       (E) any attorney;
revenue laws.                                                                                                         (F) any accountant;
(c) Notice of contact of third parties. -                                                                             (G) any barter exchange (as defined in section 6045(c)(3));
         (1) General Notice. - An officer or employee of the Internal Revenue Service may                             (H) any regulated investment company (as defined in section 851) and
         not contact any person other than the taxpayer with respect to the determination or                         any agent of such regulated investment company when acting as an
         collection of the tax liability of such taxpayer without providing reasonable notice in                     agent thereof;
         advance to the taxpayer that contacts with persons other than the taxpayer may be                            (I) any enrolled agent; and
                                                                                                                      (J) any owner or developer of a computer software source code (as
         made.
                                                                                                                     defined in section 7612(d)(2)). Subparagraph (J) shall apply only with
         (2) Notice of specific contacts. - The Secretary shall periodically provide to a
                                                                                                                      respect to a summons requiring the production of the source code
         taxpayer a record of persons contacted during such period by the Secretary with
                                                                                                                      referred to in subparagraph (J) or the program and data described in
         respect to the determination or collec ion of the tax liability of such taxpayer. Such                      section 7612(b)(1)(A)(ii) to which source code relates.
         record shall also be provided upon request of the taxpayer.
         (3) Exceptions. - This subsection shall not apply-
               (A) to any contact which the taxpayer has authorized,                                  Sec. 7604. Enforcement of summons
               (B) if the Secretary determines for good cause shown that such notice                  (a) Jurisdiction of District Court. - If any person is summoned under the internal revenue
               would jeopardize collection of any tax or such notice may involve                      laws to appear, to testify, or to produce books, papers, records, or other data, the United
               reprisal against any person, or                                                        States district court for the district in which such person resides or is found shall have
               (C) with respect to any pending criminal investigation.                                jurisdiction by appropriate process to compel such attendance, testimony, or production of
                                                                                                      books, papers, records, or other data.
(d) No administrative summons when there is Justice Department referral.-
        (1) Limitation of authority. - No summons may be issued under this title, and the             (b) Enforcement. - Whenever any person summoned under section 6420(e)(2), 6421 (g)(2),
        Secretary may not begin any action under section 7604 to enforce any summons,                 6427(j)(2), or 7602 neglects or refuses to obey such summons, or to produce books, papers,
        with respect to any person if a Justice Department referral is in effect with respect         records, or other data, or to give testimony, as required, the Secretary may apply to the
        to such person.                                                                               judge of the district court or to a United States Commissioner for the district within which
        (2) Justice Department referral in effect. - For purposes of this subsection-                 the person so summoned resides or is found for an attachment against him as for a
                                                                                                      contempt. It shall be the duty of the judge or Commissioner to hear the application, and, if
              (A) In general. - A Justice Department referral is in effect with respect
                                                                                                      satisfactory proof is made, to issue an attachment, directed to some proper officer, for the
              to any person if-
                                                                                                      arrest of such person, and upon his being brought before him to proceed to a hearing of the
                     (i) the Secretary has recommended to the Attorney General                        case; and upon such hearing the judge or the United States Commissioner shall have
                    a grand jury investigation of, or the criminal prosecution of,                    power to make such order as he shall deem proper, not inconsistent with the law for the
                    such person for any offense connected with the adminis-                           punishment of contempts, to enforce obedience to the requirements of the summons and to
                    tration or enforcement of the internal revenue laws or                            punish such person for his default or disobedience.
                     (ii) any request is made under section 6103(h)(3)(B) for the
                    disclosure of any return or return information (within the                                                            * * * *              *
                     meaning of section 6103(b)) relating to such person.                             Sec. 7605. Time and place of examination
              (B) Termination. - A Justice Department referral shall cease to be in                   (a) Time and place. - The time and place of examination pursuant to the provisions of
              effect with respect to a person when-                                                   section 6420(e)(2), 6421 (g)(2), 6427(j)(2), or 7602 shall be such time and place as may be
                     (i) the Attorney General notifies the Secretary, in writing,                     fixed by the Secretary and as are reasonable under the circumstances. In the case of a
                    that -                                                                            summons under authority of paragraph (2) of section 7602, or under the corresponding
                          (l) he will not prosecute such person for any offense                       authority of section 6420(e)(2), 6421 (g)(2) or 6427(j)(2), the date fixed for appearance
                          connected with the administration or enforcement of the                     before the Secretary shall not be less than 10 days from the date of the summons.
                          internal revenue laws,
                          (Il) he will not authorize a grand jury investigation of such
                          person with respect to such an offense, or                                  Sec. 7610. Fees and costs for witnesses
                          (lll) he will discontinue such a grand jury investigation.                  (a) In general. - The Secretary shall by regulations establish the rates and conditions under
                     (ii) a final disposition has been made of any criminal                           which payment may be made of -
                     proceeding pertaining to the enforcement of the internal                                  (1) fees and mileage to persons who are summoned to appear before the
                     revenue laws which was instituted by the Attorney General                                 Secretary, and
                    against such person, or                                                                    (2) reimbursement for such costs that are reasonably necessary which have been
                     (iii) the Attorney General notifies the Secretary, in writing,                            directly incurred in searching for, reproducing, or transporting books, papers,
                    that he will not prosecute such person for any offense                                     records, or o her data required to be produced by summons.
                    connected with the administration or enforcement of the                           (b) Exceptions. - No payment may be made under paragraph (2) of subsection (a) if -
                     internal revenue laws relating to the request described in                                (1) the person with respect to whose liability the summons is issued has a proprie-
                    sub paragraph (A)(ii).                                                                     tary interest in the books, papers, records or other data required to be produced, or
        (3) Taxable years, etc., treated separately. - For purposes of this subsection, each                   (2) the person summoned is the person with respect to whose liability the summons
        taxable period (or, if there is no taxable period, each taxable event) and each tax                    is issued or an officer, employee, agent, accountant, or attorney of such person
        imposed by a separate chapter of this ti le shall be treated separately.                               who, at the time the summons is served, is acting as such.
(e) Limitation on examination on unreported income. - The Secretary shall not use financial           (c) Summons to which section applies. - This section applies with respect to any summons
status or economic reality examination techniques to determine the existence of unreported            authorized under section 6420(e)(2), 6421 (g)(2), 6427(j)(2), or 7602.
income of any taxpayer unless the Secretary has a reasonable indication that there is a
likelihood of such unreported income.                                                                 Sec. 7210. Failure to obey summons
                                                                                                      Any person who, being duly summoned to appear to testify, or to appear and produce books,
                                                                                                      accounts, records, memoranda or other papers, as required under sections 6420(e)(2),
Authority to examine books and witness is also provided under sec. 6420 (e)(2) - Gasoline             6421(g)(2), 6427(j)(2), 7602, 7603, and 7604(b), neglects to appear or to produce such
used on farms: sec. 6421(g)(2) - Gasoline used for certain nonhighway purposes by local               books, accounts, records memoranda, or other papers, shall, upon conviction thereof, be
transit systems, or sold for certain exempt purposes; and sec. 6427(j)(2) - Fuels not used for        fined not more than $1,000, or imprisoned not more than 1 year, or both, together with costs
taxable purposes.                                                                                     of prosecution.

                                      * * * *            *                                                                                                     Form 2039 (Rev. 10-2010)
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Notice of Payment Information for
Recipients of IRS Summons
    If you are a third-party recipient of a summons, you          In addition to payment for search, reproduction, and
may be entitled to receive payment for certain costs           transportation costs, persons who appear before an
directly incurred which are reasonably necessary to            Internal Revenue Service officer in response to a
search for, reproduce, or transport records in order to        summons may request payment for authorized witness
comply with a summons.                                         fees and mileage fees. You may make this request by
   This payment is made only at the rates established by       contacting the Internal Revenue Service officer or by
the Internal Revenue Service to certain persons served         claiming these costs separately on the itemized bill or
with a summons to produce records or information in            invoice as explained below.
which the taxpayer does not have an ownership interest.
The taxpayer to whose liability the summons relates and        Instructions for requesting payment
the taxpayer's officer, employee, agent, accountant, or
attorney are not entitled to this payment. No payment              After the summons is served, you should keep an
will be made for any costs which you have charged or           accurate record of personnel search time, computer
billed to other persons.                                       costs,    number      of  reproductions     made,    and
   The rate for search costs is limited to the total amount    transportation costs. Upon satisfactory compliance, you
of personnel time spent locating and retrieving                may submit an itemized bill or invoice to the Internal
documents or information requested by the summons.             Revenue Service officer before whom you were
Specific salaries of such persons may not be included in       summoned to appear, either in person or by mail to the
search costs. In addition, search costs do not include         address furnished by the Internal Revenue Service
salaries, fees, or similar costs for analysis of material or   officer. Please write on the itemized bill or invoice the
for managerial or legal advice, expertise, research, or        name of the taxpayer to whose liability the summons
time spent for any of these activities. If itemized            relates.
separately, search costs may include the actual costs of          If you wish, Form 6863, Invoice and Authorization for
extracting information stored by computer in the format        Payment of Administrative Summons Expenses, may be
in which it is normally produced, based on computer            used to request payment for search, reproduction, and
time and necessary supplies. Time for computer search          transportation costs. Standard Form 1157, Claims for
may be paid.                                                   Witness Attendance Fees, Travel, and Miscellaneous
                                                               Expenses, may be used to request payment for
    Rates for reproduction costs for making copies or          authorized witness fees and mileage fees. These forms
duplicates of summoned documents, transcripts, and             are available from the Internal Revenue Service officer
other similar material may be paid at the allowed rates.       who issued the summons.
Photographs, films, and other material are reimbursed at          If you have any questions about the payment, please
cost.                                                          contact the Internal Revenue Service officer before
    The rate for transportation costs is the same as the       whom you were summoned to appear.
actual cost necessary to transport personnel to locate            Anyone submitting false claims for payment is subject
and retrieve summoned records or information, or costs         to possible criminal prosecution.
incurred solely by the need to transport the summoned
material to the place of examination.




         IRS
Department of the Treasury
Internal Revenue Service

    www.irs.gov
Form 2039 (Rev. 10-2010)
Catalog Number 21405J
                                                                           Part B - to be given to person summoned
      CaseSpecial
Sec. 7609. 0:22-cv-60988-FAM        Document
                  procedures for third-party    3-1 Entered(d)on
                                             summons              FLSD
                                                              Restriction     Docketof05/24/2022
                                                                          on examination                     Page
                                                                                         records. - No examination     53records
                                                                                                                   of any   of 124
                                                                                                                                 required to be
                                                                                                   produced under a summons as to which notice is required under subsection (a) may be
(a) Notice-                                                                                        made -
        (1) In general. - If any summons to which this section applies requires the giving of             (1) before the close of the 23rd day after the day notice with respect to the
        testimony on or relating to, the production of any portion of records made or kept                summons is given in the manner provided in subsection (a)(2), or
        on or relating to, or the production of any computer software source code (as                     (2) where a proceeding under subsection (b)(2)(A) was begun within the 20-day
        defined in 7612(d)(2)) with respect to, any person (other than the person                         period referred to in such subsection and the requirements of subsection (b)(2)(B)
        summoned) who is identified in the summons, then notice of the summons shall be                   have been met, except in accordance with an order of the court having jurisdiction of
        given to any person so identified within 3 days of he day on which such service is                such proceeding or with the consent of the person beginning the proceeding to quash.
        made, but no later than the 23rd day before the day fixed in the summons as the
        day upon which such records are to be examined. Such notice shall be                       (e) Suspension of Statute of Limitations. -
        accompanied by a copy of the summons which has been served and shall contain                       (1) Subsection (b) action. - If any person takes any action as provided in
        an explanation of the right under subsection (b)(2) to bring a proceeding to quash                 subsection (b) and such person is the person with respect to whose liability the
        the summons.                                                                                       summons is issued (or is the agent, nominee, or other person acting under the
        (2) Sufficiency of notice. - Such notice shall be sufficient if, on or before such third           direction or control of such person), then the running of any period of limitations
        day, such notice is served in the manner provided in section 7603 (relating to                     under section 6501 (relating to the assessment and collection of tax) or under
        service of summons) upon the person entitled to notice, or is mailed by certified or               section 6531 (relating to criminal prosecutions) with respect to such person shall
        registered mail to the last known address of such person, or, in the absence of a                  be suspended for the period during which a proceeding, and appeals therein, with
        last known address, is left with the person summoned. If such notice is mailed, it                 respect to the enforcement of such summons is pending.
        shall be sufficient if mailed to the last known address of the person entitled to notice           (2) Suspension after 6 months of service of summons. - In the absence of the
        or, in the case of notice to the Secretary under section 6903 of the existence of a                resolution of the summoned party's response to the summons, the running of any
        fiduciary relationship, to the last known address of the fiduciary of such person,                 period of limitations under section 6501 or under sec ion 6531 with respect to any
        even if such person or fiduciary is then deceased, under a legal disability, or no                 person with respect to whose liability the summons is issued (other than a person
        longer in existence.                                                                               taking action as provided in subsection (b)) shall be suspended for the period-
        (3) Nature of summons. - Any summons to which this subsection applies (and any                            (A) beginning on the date which is 6 months after the service of such
        summons in aid of collection described in subsection (c)(2)(D)) shall identify the                       summons, and
        taxpayer to whom the summons relates or the other person to whom the records                             (B) ending with the final resolution of such response.
        pertain and shall provide such other information as will enable the person
        summoned to locate the records required under the summons.                                 (f) Additional requirements in the case of a John Doe summons. -
                                                                                                   Any summons described in subsection (c)(1) which does not identify the person with respect
(b) Right to intervene; right to proceeding to quash. -                                            to whose liability the summons is issued may be served only after a court proceeding in
         (1) Intervention. - Notwithstanding any other law or rule of law, any person who is       which the Secretary establishes that -
         entitled to notice of a summons under subsection (a) shall have the right to                        (1) the summons relates to the investigation of a particular person or ascertainable
         intervene in any proceeding with respect to the enforcement of such summons                         group or class of persons,
         under section 7604.                                                                                 (2) there is a reasonable basis for believing that such person or group or class of
         (2) Proceeding to quash. -                                                                          persons may fail or may have failed to comply with any provision of any internal
                (A) In general. - Notwithstanding any other law or rule of law, any                          revenue law, and
                person who is entitled to notice of a summons under subsection (a)                           (3) the information sought to be obtained from the examination of the records or
                shall have the right to begin a proceeding to quash such summons not                         testimony (and the identity of the person or persons with respect to whose liability
                later than he 20th day after the day such notice is given in the manner                      the summons is issued) is not readily available from other sources.
                provided in subsection (a)(2). In any such proceeding, the Secretary
                may seek to compel compliance with the summons.                                    (g) Special exception for certain summonses. -
                (B) Requirement of notice to person summoned and to Secretary. - If                A summons is described in this subsection if, upon petition by the Secretary, the court
                any person begins a proceeding under subparagraph (A) with respect                 determines, on the basis of the facts and circumstances alleged, that there is reasonable
                to any summons, not later than the close of the 20-day period referred             cause to believe the giving of notice may lead to attempts to conceal, destroy, or alter
                to in subparagraph (A) such person shall mail by registered or cer ified           records relevant to the examination, to prevent the communication of information
                mail a copy of the petition to the person summoned and to such office              from other persons through intimidation, bribery, or collusion, or to flee to avoid
                as the Secretary may direct in the notice referred to in subsection                prosecution, testifying, or production of records.
                (a) (1 ).
                (C) Intervention, etc. - Notwithstanding any other law or rule of law, the         (h) Jurisdiction of district court; etc. -
                person summoned shall have the right to intervene in any proceeding                         (1) Jurisdiction. - The United States district court for the district within which the
                under subparagraph (A). Such person shall be bound by the decision in                       person to be summoned resides or is found shall have jurisdiction to hear and
                such proceeding (whether or not the person intervenes in such                               determine any proceedings brought under subsection (b)(2), (f), or (g). An order
                proceeding).                                                                                denying the peti ion shall be deemed a final order which may be appealed.
                                                                                                            (2) Special rule for proceedings under subsections (f) and (g).- The determinations
(c) Summons to which section applies. -                                                                     required to be made under subsections (f) and (g) shall be made ex parte and shall
       (1) In general. - Except as provided in paragraph (2), this section shall apply to                   be made solely on the petition and supporting affidavits.
       any summons issued under paragraph (2) of section 7602(a) or under sections
       6420(e)(2), 6421(g)(2), 6427(j)(2), or 7612.                                                (i) Duty of summoned party. -
       (2) Exceptions. - This section shall not apply to any summons                                         (1) Recordkeeper must assemble records and be prepared to produce records.-
             (A) served on the person with respect to whose liability the summons is                        On receipt of a summons to which this section applies for the production of records,
              issued, or any officer or employee of such person;                                            the summoned party shall proceed to assemble the records requested, or such
             (B) issued to determine whether or not records of the business                                  portion thereof as the Secretary may prescribe, and shall be prepared to produce
             transaction or affairs of an identified person have been made or kept;                         the records pursuant to the summons on the day on which the records are to be
             (C) issued solely to determine the identify of any person having a                             examined.
             numbered account (or similar arrangement) with a bank or other                                 (2) Secretary may give summoned party certificate. - The Secretary may issue a
             institution described in section 7603(b)(2)(A);                                                certificate to the summoned party that the period prescribed for beginning a
             (D) issued in aid of the collection of-                                                        proceeding to quash a summons has expired and that no such proceeding began
                    (i) an assessment made or a judgment rendered against the                               within such period, or that the taxpayer consents to the examination.
                    person with respect to whose liability the summons is                                   (3) Protection for summoned party who discloses. - Any summoned party, or agent
                    issued, or                                                                              or employee thereof, making a disclosure of records or testimony pursuant to this
                    (ii) the liability at law or in equity of any transferee or                             section in good faith reliance on the certificate of the Secretary or an order of a
                    fiduciary of any person referred to in clause; or                                       court requiring production of records or the giving of such testimony shall not be
             (E) (i) issued by a criminal investigator of the Internal Revenue                              liable to any customer or other person for such disclosure.
                    Service in connection with the investigation of an offense                               (4) Notice of suspension of statute of limitations in the case of a John Doe
                    connected with the administration or enforcement of the                                 summons. - In the case of a summons described in subsection (f) with respect to
                    internal revenue laws, and                                                              which any period of limitations has been suspended under subsection (e)(2), the
                    (ii) served on a person who is not a third-party recordkeeper                           summoned party shall provide notice of such suspension to any person described
                    (as defined in section 7603(b)).                                                         in subsection (f).
       (3) John Doe and Certain Other Summonses. - Subsection (a) shall not apply to
       any summons described in subsection (f) or (g).                                             (j) Use of summons not required. -
                                                                                                   Nothing in this section shall be construed to limit the Secretary's ability to obtain
       (4) Records. - For purposes of this section, the term records includes books,
                                                                                                   information, other than by summons, through formal or informal procedures authorized
       papers, and other data.
                                                                                                   by sections 7601 and 7602.




                                                                                                                                                           Form 2039 (Rev. 10-2010)
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                          Exhibit E
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                          Exhibit F
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                                Documents
                   Documents     with hits,
     Name                                     Last run time
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 Abbadess                   0             0    5/4/2020 16:46

 Acheampong                 0             0    5/4/2020 16:46
 Agzamov                    0             0    5/4/2020 16:46
 Alkass                     0             0    5/4/2020 16:46
 Altergott                  0             0    5/4/2020 16:46


 Amanda w/3
 Woodland                   0             0    5/4/2020 16:53
 Amston                     0             0    5/4/2020 16:46

 Amyw/3
 Williamson                 0             0    5/4/2020 16:53

 Aquanetta w/3
 Davis                      0             0    5/4/2020 16:53
 Bankstron                  0             0    5/4/2020 16:46
 Bartoloso                  0             0    5/4/2020 16:46
 Beloushi                   0             0    5/4/2020 16:46
 Benevides                  0             0    5/4/2020 16:46
 Bercescu                   0             0    5/4/2020 16:46
 Bhise                      0             0    5/4/2020 16:47


 Bih‐Shiung Chen            0             0    5/4/2020 16:52
 Bitner                     0             0    5/4/2020 16:47
 Bookhelm                   0             0    5/4/2020 16:47

 Bradley w/3
 Morgan                     0             0    5/4/2020 16:53

 Bradley w/3
 Nelson                     0             0    5/4/2020 16:53
 Brazhnyk                   0             0    5/4/2020 16:47
 Brisefio                   0             0    5/4/2020 16:47

 Calvin w/3
 Turner                     0             0    5/4/2020 16:53
 Chetty                     0             0    5/4/2020 16:47
 Christopher w/3
 Ott                        0             0    5/4/2020 16:53
 Circulli                   0             0    5/4/2020 16:47
Case 0:22-cv-60988-FAM Document 3-1 Entered on FLSD Docket 05/24/2022 Page 64 of 124



 Claude w/3
 Joseph            0        0    5/4/2020 16:53

 Clinton w/3
 Brown             0        0    5/4/2020 16:52
 Colton w/3
 Story             0        0    5/4/2020 16:53
 Darin w/3
 Anderson          0        0    5/4/2020 16:52
 Daskaleas         0        0    5/4/2020 16:47

 Debettencourt     0        0    5/4/2020 16:47
 Derek w/3
 Campbell          0        0    5/4/2020 16:52

 DiLeonardo        0        0    5/4/2020 16:47
 Dobrauc           0        0    5/4/2020 16:47
 Domatti           0        0    5/4/2020 16:47
 Dubonn            0        0    5/4/2020 16:47
 Enikeev           0        0    5/4/2020 16:47
 Eversman          0        0    5/4/2020 16:47
 Fryatt            0        0    5/4/2020 16:47
 Furuta            0        0    5/4/2020 16:47
 Galde             0        0    5/4/2020 16:47

 Hanna w/3
 Cohen             0        0    5/4/2020 16:52
 He                0        0    5/4/2020 16:47
 Hinchey           0        0    5/4/2020 16:47
 Hodgins           0        0    5/4/2020 16:47

 Hugh w/3 Jones    0        0    5/4/2020 16:53
 Ilona w/3
 Cherry            0        0    5/4/2020 16:52
 Jarrie            0        0    5/4/2020 16:47

 Jason w/3j Cox    0        0    5/4/2020 16:53
 Juliet w/3
 morris            0        0    5/4/2020 16:53
 Kalabovda         0        0    5/4/2020 16:47
 Karakaya          0        0    5/4/2020 16:47

 Karvchencko       0        0    5/4/2020 16:47
 Kaska             0        0    5/4/2020 16:47
 Kazaz             0        0    5/4/2020 16:47
 Kevin w/3
 Sheridan          0        0    5/4/2020 16:53

 Khanukaev         0        0    5/4/2020 16:47
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 Khurshid          0        0    5/4/2020 16:47
 Kiyasko           0        0    5/4/2020 16:47
 Knight w/3
 Chen              0        0    5/4/2020 16:52
 Komova            0        0    5/4/2020 16:47

 Krapukaityle      0        0    5/4/2020 16:47

 Kregg
 w/3Johnson        0        0    5/4/2020 16:53

 Kruszewski        0        0    5/4/2020 16:47

 Kuo w/3 Yang      0        0    5/4/2020 16:53
 Laszio            0        0    5/4/2020 16:47

 Leah w/3 Cox      0        0    5/4/2020 16:53

 Linda w/3 Leo     0        0    5/4/2020 16:53

 Liora w/3 Wall    0        0    5/4/2020 16:53

 Livi w/3 Moreno   0        0    5/4/2020 16:53

 Lobdell w/3
 Brown             0        0    5/4/2020 16:52
 Lockamy           0        0    5/4/2020 16:47
 Lori w/3
 Anderson          0        0    5/4/2020 16:52

 Malparpida        0        0    5/4/2020 16:47
 Malpatida         0        0    5/4/2020 16:47

 Mandelcom         0        0    5/4/2020 16:47

 Mayorguin         0        0    5/4/2020 16:47
 Megar             0        0    5/4/2020 16:47
 Mirbod            0        0    5/4/2020 16:47

 Molly w/3 Chen    0        0    5/4/2020 16:52
 More              0        0    5/4/2020 16:47
 Naor              0        0    5/4/2020 16:47
 Nethery           0        0    5/4/2020 16:47
 Oilveira          0        0    5/4/2020 16:47
 Oilveri           0        0    5/4/2020 16:47
 Oyjeko            0        0    5/4/2020 16:47
 Pereiras          0        0    5/4/2020 16:52
 Perex             0        0    5/4/2020 16:52
 Popkins           0        0    5/4/2020 16:52
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 R Scott w/3
 Wells             0        0    5/4/2020 16:53
 Radula            0        0    5/4/2020 16:52
 Ramdaval          0        0    5/4/2020 16:52

 Rivadeneita       0        0    5/4/2020 16:52
 Rosebury          0        0    5/4/2020 16:52
 Rubanov           0        0    5/4/2020 16:52

 Ryan w/3 Henry    0        0    5/4/2020 16:53
 Said              0        0    5/4/2020 16:52
 Selhofer          0        0    5/4/2020 16:52

 Shea w/3 Lee      0        0    5/4/2020 16:53
 Stawinksi         0        0    5/4/2020 16:52
 Suillivan         0        0    5/4/2020 16:52

 Taglialpietra     0        0    5/4/2020 16:52

 TC w/3 Lee        0        0    5/4/2020 16:53
 Tlatonova         0        0    5/4/2020 16:52
 Vandivier         0        0    5/4/2020 16:52
 Vickram w/3
 Singh             0        0    5/4/2020 16:53

 Wyne w/3 Chen     0        0    5/4/2020 16:52
 Zhoushan w/3
 Tan               0        0    5/4/2020 16:53
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                          Exhibit G
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                                         Documents
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 Name                                     including    Last run time
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                                            group



 16 Sunshine & Beaches               0             0     5/1/2020 10:49
 16 Sunshine&Beaches                 0             0     5/1/2020 10:52
 28Ten 1                             0             0     5/1/2020 10:49
 4A & K Investments                  0             0     5/1/2020 10:49
 90888 Financial Serivces
 Company                             0             0     5/1/2020 10:49
 90888 Financial Service
 Co                                  0             0     5/1/2020 10:49
 A & A Global                        0             0     5/1/2020 10:49
 A & J Laboratories                  0             0     5/1/2020 10:49

 A.C.A. Advisors Services            0             0     5/1/2020 10:49
 ABC Marketing                       0             0     5/1/2020 10:49
 Acccepted Financial
 Company                             0             0     5/1/2020 10:49
 Access Holding Group                0             0     5/1/2020 10:49
 Ace Business Holding
 Intl Group                          0             0     5/1/2020 10:49
 Ace Business Holdings
 Intl Group                          0             0     5/1/2020 10:49
 Ace Mgmt Group                      0             0     5/1/2020 10:49
 Achiles Management                  0             0     5/1/2020 10:52
 Achiles Mgmt                        0             0     5/1/2020 10:49
 Adams & Morris                      0             0     5/1/2020 10:49
 Addvisors Design &
 Consulting                          0             0     5/1/2020 10:49
 Advanced Research
 Institute                           0             0     5/1/2020 10:49
 Ad‐ventres                          0             0     5/1/2020 10:52
 Ad‐ventres 4 U                      0             0     5/1/2020 10:49
 Advisors Design &
 Consulting                          0             0     5/1/2020 10:49
 Advisors
 Design&Consulting                   0             0     5/1/2020 10:52
 Affiliate Media Parners             0             0     5/1/2020 10:49
 Africian American and
 American Indian                     0             0     5/1/2020 10:49
 Agent Management
 Group                               0             0     5/1/2020 10:49
 Agile Poet LCL                      0             0     5/1/2020 10:49
 AGMS Mgmt                           0             0     5/1/2020 10:49
 Agro Tech Kingdon                   0             0     5/1/2020 10:49
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 AgroTech Kimgdom          0       0     5/1/2020 10:49
 Aircraft Asset Mgmt
 Group                     0       0     5/1/2020 10:49
 Alfa Investments          0       0     5/1/2020 10:52
 Alfa Investments Fond     0       0     5/1/2020 10:49
 Alfa Noite                0       0     5/1/2020 10:52
 Alfa Noite Consulting
 Group                     0       0     5/1/2020 10:49
 Alian lamas               0       0     5/1/2020 10:49

 Allendevaux & Company     0       0     5/1/2020 10:49
 Alpha Nolte               0       0     5/1/2020 10:52
 Alpha Nolte Consulting
 Group                     0       0     5/1/2020 10:49
 Alpha Star Etnerprises    0       0     5/1/2020 10:49
 Alpha Star Holdings       0       0     5/1/2020 10:49
 Alpha Star Inv            0       0     5/1/2020 10:49
 Alpha Star Investment     0       0     5/1/2020 10:52
 Alpin Mgmt Partners       0       0     5/1/2020 10:49
 Alyssa & Will             0       0     5/1/2020 10:49
 Amab Holdings &
 Investments               0       0     5/1/2020 10:49
 Ambrose & Keith           0       0     5/1/2020 10:49

 American Mobile Mgmt      0       0     5/1/2020 10:49
 Ana Services              0       0     5/1/2020 10:49
 Anastasis Group Archive
 Holdings                  0       0     5/1/2020 10:49

 Aneek & Astahama A&A      0       0     5/1/2020 10:49
 Anker & Solii             0       0     5/1/2020 10:49
 Anker & Solli             0       0     5/1/2020 10:49
 Anker&Solii               0       0     5/1/2020 10:52
 Apeiron Global Serices    0       0     5/1/2020 10:49

 Aperion Global Services   0       0     5/1/2020 10:49
 April One and Sith Life   0       0     5/1/2020 10:49
 APTG Mgmt                 0       0     5/1/2020 10:49
 Aquarius Investment
 IBC                       0       0     5/1/2020 10:49
 Archimedes Intl           0       0     5/1/2020 10:49
 Argent Mgmt Group         0       0     5/1/2020 10:49
 Argila                    0       0     5/1/2020 10:52
 Argila Associates         0       0     5/1/2020 10:49
 ARK Trust                 0       0     5/1/2020 10:49
 Arnold Daniels PhD        0       0     5/1/2020 10:49
 Asian Pacific Capital     0       0     5/1/2020 10:52
 Asian Pacific Capital
 Management                0       0     5/1/2020 10:49
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 Atkins Office Personnel
 Services                  0       0     5/1/2020 10:49
 Atkins Office Program     0       0     5/1/2020 10:49
 Atlas Admin               0       0     5/1/2020 10:49
 Austin Ave Holdings       0       0     5/1/2020 10:49
 Authentic Sales &
 Service                   0       0     5/1/2020 10:49
 Autin Avenue Holdings     0       0     5/1/2020 10:49
 Automakers Protection
 Mgmt                      0       0     5/1/2020 10:49
 Axiom Limited             0       0     5/1/2020 10:49
 Axzel Mrketing
 Solutions                 0       0     5/1/2020 10:49
 Baker Holdings Trust      0       0     5/1/2020 10:49
 Balam Mgmt                0       0     5/1/2020 10:49
 Balam Mgmt Group          0       0     5/1/2020 10:49
 BAR Industries            0       0     5/1/2020 10:49
 Barataza International    0       0     5/1/2020 10:52
 Barataza Intl             0       0     5/1/2020 10:49
 BBLS                      0       0     5/1/2020 10:49
 BC Holdings &
 Investments               0       0     5/1/2020 10:49
 BCJJO                     0       0     5/1/2020 10:49
 BCMS Smart
 Investments Glabal        0       0     5/1/2020 10:49
 Beauty Drama              0       0     5/1/2020 10:49
 Bele Venture Parners      0       0     5/1/2020 10:49
 Bentley Global Grup       0       0     5/1/2020 10:49
 BentWater Captial         0       0     5/1/2020 10:49
 Beore Financeial          0       0     5/1/2020 10:49
 Bethany Investments
 Group                     0       0     5/1/2020 10:49
 Betta Spendens            0       0     5/1/2020 10:49
 Bidwithintegritycom       0       0     5/1/2020 10:49
 BitAmex                   0       0     5/1/2020 10:49
 Blackridge                0       0     5/1/2020 10:49
 Blue Bonnet Holdings      0       0     5/1/2020 10:49
 Blue Group Holdings       0       0     5/1/2020 10:51
 Blue Print Group LC       0       0     5/1/2020 10:49
 Blue Sky Investments      0       0     5/1/2020 10:49
 BMG Holdings trust        0       0     5/1/2020 10:49
 BMG Management
 Trust                     0       0     5/1/2020 10:49
 Bo & Co                   0       0     5/1/2020 10:49
 BOG Group                 0       0     5/1/2020 10:49
 Boost Magic Frame         0       0     5/1/2020 10:49
 Boulevard Cas             0       0     5/1/2020 10:49
 Bourret Glass &
 Upholstery                0       0     5/1/2020 10:49
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 Brazilian Churascaria of
 King of Prussia            0      0     5/1/2020 10:49

 Breckendal Investments     0      0     5/1/2020 10:49
 Bright Eyes Intl           0      0     5/1/2020 10:49
 Broad Street Wealth
 Mgmt                       0      0     5/1/2020 10:49
 Broadway Foundation        0      0     5/1/2020 10:51
 Brockway & Assoc           0      0     5/1/2020 10:49
 Brockway & Associates      0      0     5/1/2020 10:49
 Brockway&Assoc             0      0     5/1/2020 10:52
 BT Mgmt Group              0      0     5/1/2020 10:49
 Buildingsreports Latin
 America SRL                0      0     5/1/2020 10:49
 Business Holdings Intl
 Group                      0      0     5/1/2020 10:49
 Butler Enterprises         0      0     5/1/2020 10:49
 Butter Stores              0      0     5/1/2020 10:49
 BVI Coprs                  0      0     5/1/2020 10:49
 C & G Enterprses           0      0     5/1/2020 10:49
 C & R International
 Trading                    0      0     5/1/2020 10:49
 C&G Enterprses             0      0     5/1/2020 10:52
 C&R International
 Trading                    0      0     5/1/2020 10:52
 Cadenza Co                 0      0     5/1/2020 10:49
 CAFGW                      0      0     5/1/2020 10:49
 Call Center Intl           0      0     5/1/2020 10:49
 Calvin Capital ‐ 2 years   0      0     5/1/2020 10:49
 Capital Acquistion
 Leasing                    0      0     5/1/2020 10:49
 Carbon Commoditites
 Group                      0      0     5/1/2020 10:49
 Carubbean Business
 Development                0      0     5/1/2020 10:49
 Castlewealth
 Investment                 0      0     5/1/2020 10:49
 Catalyst Intl Services     0      0     5/1/2020 10:49
 Cavalier Investments &
 Acquisitions               0      0     5/1/2020 10:49
 CC Investments Group       0      0     5/1/2020 10:49
 CFS Asset Mgmt             0      0     5/1/2020 10:49
 Champion Bike
 Components                 0      0     5/1/2020 10:49
 Chaucey Gardner
 Investments                0      0     5/1/2020 10:49
 Chaucey Gardner
 Investments LP             0      0     5/1/2020 10:49
 Chauncey Gardner
 Mgmt                       0      0     5/1/2020 10:49
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 Chauncey Gardnet
 Management                 0      0     5/1/2020 10:52
 Chauncey Gardnet
 Mgmt                       0      0     5/1/2020 10:49
 Christopher Consulting
 Company                    0      0     5/1/2020 10:49
 Chrysus                    0      0     5/1/2020 10:49
 Churchhill S. Rhodes       0      0     5/1/2020 10:49
 Cody International         0      0     5/1/2020 10:49
 Collaborative
 Techonolgy Holdings        0      0     5/1/2020 10:49
 CollBonn Jaxen Trust       0      0     5/1/2020 10:49
 Collin Group Mgmt          0      0     5/1/2020 10:49
 Coltrane Ewing 14‐15       0      0     5/1/2020 10:49
 Comisoft                   0      0     5/1/2020 10:49
 Compliant Dealer           0      0     5/1/2020 10:49
 Compliant Dialter          0      0     5/1/2020 10:49
 Conference Meeting
 Partners                   0      0     5/1/2020 10:49
 Conshohocken Waste &
 Recycling Consulting       0      0     5/1/2020 10:49
 Constitutional Property
 Holdings                   0      0     5/1/2020 10:49
 Construction Specialties
 & Supply                   0      0     5/1/2020 10:49
 Consulting Intl Advisors
 Group                      0      0     5/1/2020 10:49
 CoPiolot Global            0      0     5/1/2020 10:49
 Corporate Credit
 Program Superior Credit
 Lending                    0      0     5/1/2020 10:49
 Cosmic Glabal
 Investments                0      0     5/1/2020 10:49
 Cotrane Ewing              0      0     5/1/2020 10:49
 Creative Bell Taylor and
 Associates                 0      0     5/1/2020 10:49
 Creative Capital Mgmt      0      0     5/1/2020 10:49
 Creative Legeacy           0      0     5/1/2020 10:49
 Creative xxx               0      0     5/1/2020 10:49

 Csaa Andina Properties     0      0     5/1/2020 10:49
 Curly Inv                  0      0     5/1/2020 10:49
 DA Enterprises             0      0     5/1/2020 10:49
 Dafahadah Global           0      0     5/1/2020 10:49
 DAK Assoiates              0      0     5/1/2020 10:49
 DApecks Services           0      0     5/1/2020 10:49
 Deca Aloe Arborescens
 Intl                       0      0     5/1/2020 10:49

 Deep See Ineternational    0      0     5/1/2020 10:49
Case 0:22-cv-60988-FAM Document 3-1 Entered on FLSD Docket 05/24/2022 Page 73 of 124


 Deep See Intl               0     0     5/1/2020 10:49
 DGW                         0     0     5/1/2020 10:49
 Direct Services Mgmt        0     0     5/1/2020 10:49
 Dirrecktor Themal
 Sciences International      0     0     5/1/2020 10:49

 Diversified Holdings Intl   0     0     5/1/2020 10:49
 Dominion Capital            0     0     5/1/2020 10:49
 Dovkway Group               0     0     5/1/2020 10:49
 DPiCo Intl                  0     0     5/1/2020 10:49
 Dragon Intl Escrow          0     0     5/1/2020 10:49
 Duland                      0     0     5/1/2020 10:49
 Dulane Copr                 0     0     5/1/2020 10:49
 E & G Int'l Group           0     0     5/1/2020 10:49
 E&S Holdings &
 investments                 0     0     5/1/2020 10:49
 Earl & La Marr              0     0     5/1/2020 10:49
 East Atlantic Eind
 Holdings                    0     0     5/1/2020 10:49
 East Caribbean Finacial
 Services                    0     0     5/1/2020 10:49
 Edgepoint Group Intl        0     0     5/1/2020 10:49
 Elements Global (Credit
 on Account)                 0     0     5/1/2020 10:49
 EME Marketing               0     0     5/1/2020 10:49
 Empire State Hodlings       0     0     5/1/2020 10:49
 Englise Spinners            0     0     5/1/2020 10:49
 EOC Oil & Gas               0     0     5/1/2020 10:49
 EP & H Enterprises          0     0     5/1/2020 10:49
 ER&H Enterprises            0     0     5/1/2020 10:50
 European Investments
 Group                       0     0     5/1/2020 10:50
 Evergreen Holdings          0     0     5/1/2020 10:50
 F1 Group                    0     0     5/1/2020 10:52
 F1 Group UK                 0     0     5/1/2020 10:50
 Fair Escrow & Clearing      0     0     5/1/2020 10:50
 FAIR Escrow& learing        0     0     5/1/2020 10:52
 Farflung Ent                0     0     5/1/2020 10:50
 Fari Escrow & Clearing      0     0     5/1/2020 10:50
 Fari Escrow&Clearing        0     0     5/1/2020 10:52
 Fast Efunds                 0     0     5/1/2020 10:50
 Fice Loaves and Two
 Fish                        0     0     5/1/2020 10:50
 Fields Enterprise           0     0     5/1/2020 10:50
 Finanziaria
 Consolidation Solia         0     0     5/1/2020 10:50
 Finaziaria Consolodation
 Socia                       0     0     5/1/2020 10:50
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 FINNIAN EBUEHI
 ELIZABETH EBUEH           0       0     5/1/2020 10:50
 Five Loaves & Two Fish    0       0     5/1/2020 10:50
 Five Starr Intl           0       0     5/1/2020 10:50
 Florida Holdings &
 Investments               0       0     5/1/2020 10:50
 Florida Trust
 Management                0       0     5/1/2020 10:52
 Florida Trust Mgmt        0       0     5/1/2020 10:50
 Florida Wildlife
 Assoiation                0       0     5/1/2020 10:50
 Focus Dist                0       0     5/1/2020 10:50
 Food Research
 International LCL         0       0     5/1/2020 10:50
 Food Research Intl        0       0     5/1/2020 10:50
 Fountain & Justice
 Global Enterprise         0       0     5/1/2020 10:50
 Four K Mgmt               0       0     5/1/2020 10:50
 Fractional Mgmt           0       0     5/1/2020 10:50
 Frailis Int               0       0     5/1/2020 10:50
 Frailis International     0       0     5/1/2020 10:52
 Franctional Life          0       0     5/1/2020 10:50
 Franctional Life
 Beneficial                0       0     5/1/2020 10:50
 FTR Processing            0       0     5/1/2020 10:50
 FTS Internaitonal
 Solutions                 0       0     5/1/2020 10:50
 Furimus Commercial
 Advisors                  0       0     5/1/2020 10:50
 FXVIP Services            0       0     5/1/2020 10:50
 G & B Holdings            0       0     5/1/2020 10:50

 G & V Global Consulting   0       0     5/1/2020 10:50
 Gaskill Mgmt              0       0     5/1/2020 10:50
 Gaskill Mgmt Group        0       0     5/1/2020 10:50
 Gavib Investments         0       0     5/1/2020 10:50

 GB Investments Capitla    0       0     5/1/2020 10:50
 General Mgmt Services     0       0     5/1/2020 10:50
 GFB Business Capital      0       0     5/1/2020 10:50
 Global Aset Holdings      0       0     5/1/2020 10:50
 Global Asset Financial
 Management                0       0     5/1/2020 10:52
 Global Asset Financial
 Mgmt                      0       0     5/1/2020 10:50
 Global Asset Mgmt         0       0     5/1/2020 10:50
 Global Commodities
 Trading & Partners        0       0     5/1/2020 10:50
 Global Energy Resource
 Consultatns               0       0     5/1/2020 10:50
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 Global holding
 Enterprise                 0      0     5/1/2020 10:50
 Global Holdings Intl       0      0     5/1/2020 10:50
 Global Intl Bebidas        0      0     5/1/2020 10:50
 Global Intl Ventures       0      0     5/1/2020 10:50
 Global Management &
 Investment                 0      0     5/1/2020 10:50
 Global Power &
 Infrastructure             0      0     5/1/2020 10:50

 Global Solutions Captial   0      0     5/1/2020 10:50
 Global Suppression &
 Survellance                0      0     5/1/2020 10:50
 Global
 Suppression&Survellanc
 e                          0      0     5/1/2020 10:52
 Global Trading &
 Consulting Services        0      0     5/1/2020 10:50
 Globat Trading &
 Consulting                 0      0     5/1/2020 10:50
 Globat
 Trading&Consulting         0      0     5/1/2020 10:52
 Golden State Unic          0      0     5/1/2020 10:50
 Golden State Univ          0      0     5/1/2020 10:50
 Golden View
 Investment                 0      0     5/1/2020 10:50
 Goldenstate Univ           0      0     5/1/2020 10:50
 Goldenwest University      0      0     5/1/2020 10:50
 Goldern State Univ         0      0     5/1/2020 10:50
 Golestan Family &
 Company                    0      0     5/1/2020 10:50
 Govard                     0      0     5/1/2020 10:50
 GowaniHeitmannWebb
 er Investors               0      0     5/1/2020 10:50
 Grace & Salvation          0      0     5/1/2020 10:50
 Grand Assets
 Investments                0      0     5/1/2020 10:50
 Grapkoski Holdings
 Trust                      0      0     5/1/2020 10:50
 Great Panda Holsings
 Limited                    0      0     5/1/2020 10:50
 Green River Mgmt           0      0     5/1/2020 10:50
 Greenwood Hodlings
 Group                      0      0     5/1/2020 10:50

 Gruppo Campo Di Gloe       0      0     5/1/2020 10:50
 Gryphon I Holding          0      0     5/1/2020 10:50
 Gryphon Mgmt Group         0      0     5/1/2020 10:50
 Guardian Intl Group        0      0     5/1/2020 10:50
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 H & H Investment
 Holdings                    0     0     5/1/2020 10:50
 Hadifield Interest          0     0     5/1/2020 10:50
 HALOLO Assocaites           0     0     5/1/2020 10:50
 Halstead Preston & Ford
 LP                          0     0     5/1/2020 10:50

 Health Net Systems Intl     0     0     5/1/2020 10:50
 Hedi Shipping               0     0     5/1/2020 10:50
 Heltos Investment
 Company Limited             0     0     5/1/2020 10:50
 Heman                       0     0     5/1/2020 10:50
 Hevenly Management          0     0     5/1/2020 10:50
 Higher Learning
 Education                   0     0     5/1/2020 10:50
 Hings & Associates          0     0     5/1/2020 10:50
 Honey Dadger                0     0     5/1/2020 10:50
 Horizon Cpaital
 Ventures                    0     0     5/1/2020 10:50

 Howard Multimodal Dev       0     0     5/1/2020 10:50
 HSNI Holding Group          0     0     5/1/2020 10:50
 Huntington Capital
 Mgmt                        0     0     5/1/2020 10:50
 I Wanna be a star           0     0     5/1/2020 10:50
 ICO2FM                      0     0     5/1/2020 10:50
 IETECH Solution Import
 & Export                    0     0     5/1/2020 10:50
 Image in Mind Printing
 & Graphics                  0     0     5/1/2020 10:50
 Inca Anker & Soli           0     0     5/1/2020 10:50
 Inca Anker&Soli             0     0     5/1/2020 10:52
 Inception Group             0     0     5/1/2020 10:50
 Industrial Equipments &
 Attachments                 0     0     5/1/2020 10:50
 Inlt Finance                0     0     5/1/2020 10:50
 Inlt Tourism Services       0     0     5/1/2020 10:50
 Integral Management
 IMI Productions             0     0     5/1/2020 10:50
 Integrated Logistics
 Services (ILS)              0     0     5/1/2020 10:50
 Intellectual Property
 Mgmt Services Intl LTD      0     0     5/1/2020 10:50

 Intellignet Virual Agents   0     0     5/1/2020 10:50
 Interbrokers ‐ Simon &
 Simon Ravicorp              0     0     5/1/2020 10:50
 Interbrokers ‐ Simon &
 Simon‐Ravicorp              0     0     5/1/2020 10:50
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 Interbrokers Simon & So     0     0     5/1/2020 10:50

 Interbrokers Simon&So       0     0     5/1/2020 10:52
 Interbrokers‐Simon &
 Simon ‐ Ravicorp            0     0     5/1/2020 10:50
 Interbrokers‐Simon &
 Simon Ravicorp              0     0     5/1/2020 10:50
 Interbrokers‐Simon &
 Simon ‐Ravicorp             0     0     5/1/2020 10:50
 Interbrokers‐Simon &
 Simon‐Ravicopr              0     0     5/1/2020 10:50
 Interbrokers‐Simon &
 Simon‐Ravicorp              0     0     5/1/2020 10:50

 Interbrokers‐
 Simon&Simon‐Ravicopr        0     0     5/1/2020 10:52
 International Auto
 Source Limted               0     0     5/1/2020 10:50
 International Captial
 Holdings                    0     0     5/1/2020 10:50
 International
 Communicaitons Ltd          0     0     5/1/2020 10:50

 International Healthcare
 Tecruitment
 Consultants                 0     0     5/1/2020 10:52
 International Pipeline
 Consulants                  0     0     5/1/2020 10:50
 International Resturant
 Concepts                    0     0     5/1/2020 10:50
 International Services &
 Consultants                 0     0     5/1/2020 10:50
 International Whols
 Privacy Services            0     0     5/1/2020 10:52

 International Whols
 Privacy Services Limited    0     0     5/1/2020 10:50

 International Whorls
 Privacy Services Limited    0     0     5/1/2020 10:52
 International Yachy
 Mgmt                        0     0     5/1/2020 10:50
 Intl Healthcare
 Tecruitment
 Consultants                 0     0     5/1/2020 10:50
 Intl Monetary
 Investments                 0     0     5/1/2020 10:50
 Intl Monetary Services      0     0     5/1/2020 10:50

 Intl Pipeline Consultants   0     0     5/1/2020 10:50
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 Intl Whois Privacy
 Services Ltd              0       0     5/1/2020 10:50
 Intl Whols Privacy
 Services Ltd              0       0     5/1/2020 10:50
 Intl Whorls Privacy
 Services Limited          0       0     5/1/2020 10:50
 Investors Capital
 Holdings Company          0       0     5/1/2020 10:50
 Irish Blue & Gold         0       0     5/1/2020 10:50
 Irr Life Ins              0       0     5/1/2020 10:50
 Island Pitch Intl         0       0     5/1/2020 10:50
 Isolatte                  0       0     5/1/2020 10:50

 Istiopharus Investment    0       0     5/1/2020 10:52

 Istiopharus Investments   0       0     5/1/2020 10:50
 J & E Admin Group         0       0     5/1/2020 10:50
 J & E Administration      0       0     5/1/2020 10:50
 J & H Asset Company       0       0     5/1/2020 10:50
 J&E Admin Group           0       0     5/1/2020 10:52
 Janne Korinn Jaxen
 Trust                     0       0     5/1/2020 10:50
 JASE Partners Trust       0       0     5/1/2020 10:50
 JBM Investments           0       0     5/1/2020 10:50
 JDM Holdings              0       0     5/1/2020 10:50
 Jemic                     0       0     5/1/2020 10:52
 Jemic Company             0       0     5/1/2020 10:50
 Jewish Genealogy          0       0     5/1/2020 10:52
 Jewish Genealogy
 Services Ltd              0       0     5/1/2020 10:50
 JHM Limited               0       0     5/1/2020 10:50
 JKLA Enterprices          0       0     5/1/2020 10:50
 John Oakhusrt Emigre'
 Benovlient Society        0       0     5/1/2020 10:50
 John P Brenan
 International Holdings    0       0     5/1/2020 10:50
 John P. Brenan
 International Holdings    0       0     5/1/2020 10:50
 Jokulsa Lackur            0       0     5/1/2020 10:50
 Joresa Intl               0       0     5/1/2020 10:50
 JP1 Investments           0       0     5/1/2020 10:50
 JPDS Asset Group          0       0     5/1/2020 10:50
 JS Consulting             0       0     5/1/2020 10:50
 JSL Travel                0       0     5/1/2020 10:50
 K & T International
 Trading                   0       0     5/1/2020 10:50
 Kelly Construction &
 Design                    0       0     5/1/2020 10:50
 Kerrigan Mgmt             0       0     5/1/2020 10:50
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 Keshmiri & Associates      0      0     5/1/2020 10:50
 King Counsulting Firm      0      0     5/1/2020 10:50
 Kiwi Intl Group            0      0     5/1/2020 10:50
 KJ Kapital 12‐13           0      0     5/1/2020 10:50
 KJ Kapital 13‐14           0      0     5/1/2020 10:50
 Klaissa Group              0      0     5/1/2020 10:50
 KMAN Investments           0      0     5/1/2020 10:50
 Kobe Investments           0      0     5/1/2020 10:50
 KRIC 13‐14                 0      0     5/1/2020 10:50
 KRIC Inc 12‐13             0      0     5/1/2020 10:50
 Krigsman Consulting
 Offshore                   0      0     5/1/2020 10:50

 Kuwait Capital Inc 12‐14   0      0     5/1/2020 10:50
 Kuwait Capital12‐13        0      0     5/1/2020 10:50
 Kwuait Capital             0      0     5/1/2020 10:50
 LAS Mgmt                   0      0     5/1/2020 10:50
 Lee Domestic Benefial      0      0     5/1/2020 10:50
 Legacy Intl Holdings
 Group                      0      0     5/1/2020 10:50
 Leicht International
 Mgmt                       0      0     5/1/2020 10:50
 Leroj Coulture             0      0     5/1/2020 10:50
 Linda Silva Roberts        0      0     5/1/2020 10:50
 LLC Flower Solutions       0      0     5/1/2020 10:50
 Loden Enterprises 2010‐
 2011                       0      0     5/1/2020 10:50
 Loden Enterprises 2011‐
 2012                       0      0     5/1/2020 10:50
 Logx International         0      0     5/1/2020 10:52
 LogX International
 Enterprises                0      0     5/1/2020 10:52
 Lots of Diff Companies     0      0     5/1/2020 10:50
 LRG Realty Co              0      0     5/1/2020 10:50

 LS Holdings &
 Investments (Nevis) LTD    0      0     5/1/2020 10:50
 LS Holdings Ltd            0      0     5/1/2020 10:50
 Luna Investments           0      0     5/1/2020 10:50
 M & N Global Holdings      0      0     5/1/2020 10:50
 M & T GLOBAL
 TRANSPORTATION             0      0     5/1/2020 10:50
 M3Invetment                0      0     5/1/2020 10:50

 Mab Investment Group       0      0     5/1/2020 10:50
 Madison International      0      0     5/1/2020 10:50
 Magic Boost Mgmt           0      0     5/1/2020 10:50
 Magna Intl Enterprises     0      0     5/1/2020 10:50
 Main Star Software         0      0     5/1/2020 10:50
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 Manaloana Integriat        0      0     5/1/2020 10:50
 Manaolana Intergritat      0      0     5/1/2020 10:50
 Marble Risk Mgmt           0      0     5/1/2020 10:50
 Matilja Canyon Trust       0      0     5/1/2020 10:50
 Maximun Health
 Enterprises                0      0     5/1/2020 10:50
 MCMM & Associates          0      0     5/1/2020 10:50
 MCN Mgmt Advisors          0      0     5/1/2020 10:50
 MD Global Inv              0      0     5/1/2020 10:50
 Med Co Management          0      0     5/1/2020 10:52
 Med Co Mgmt                0      0     5/1/2020 10:50
 MedCo Mmt                  0      0     5/1/2020 10:50
 Medical Net Systems
 International              0      0     5/1/2020 10:52
 Medical Net Systems
 Intl                       0      0     5/1/2020 10:50
 Medical Referral
 Network Intl               0      0     5/1/2020 10:50
 mercury Mairtime
 Advisors                   0      0     5/1/2020 10:50
 MES Investments            0      0     5/1/2020 10:52
 MES Investments
 Limited Company            0      0     5/1/2020 10:50
 MFS Holdings LC            0      0     5/1/2020 10:50
 MHGS Intl                  0      0     5/1/2020 10:50
 Miahuzin LC                0      0     5/1/2020 10:50
 Milennium                  0      0     5/1/2020 10:50
 Millennium Group
 Holdings                   0      0     5/1/2020 10:50
 Ming Long CRE
 Investment                 0      0     5/1/2020 10:50
 MLA Pealty                 0      0     5/1/2020 10:50
 MLK Consulting             0      0     5/1/2020 10:50
 Monarch Enterprises        0      0     5/1/2020 10:50
 Moni & Car Group           0      0     5/1/2020 10:50

 Monolith One Holdigns      0      0     5/1/2020 10:50
 Moving & Relocation
 Services                   0      0     5/1/2020 10:50
 Mr. Financail Solutions    0      0     5/1/2020 10:50
 Musician Trust             0      0     5/1/2020 10:50
 MW Marketing               0      0     5/1/2020 10:50
 Mysric Ventures            0      0     5/1/2020 10:50
 NABN Dev                   0      0     5/1/2020 10:50
 National Mechanical
 Service Co                 0      0     5/1/2020 10:50
 Nekstream Global LL        0      0     5/1/2020 10:50
 Nelare Churrascaria Pier
 Shops                      0      0     5/1/2020 10:50
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 Neutro Diagnostic
 Consulting                0       0     5/1/2020 10:50
 Nevis Breachfront
 Group                     0       0     5/1/2020 10:50
 Nevis Ventures Group      0       0     5/1/2020 10:50

 New World Family Turst    0       0     5/1/2020 10:50
 Nexus Parts & Supplies    0       0     5/1/2020 10:50
 Niagara St Dreamer
 Trust                     0       0     5/1/2020 10:51
 Niagara Steet Dreamer
 Trust                     0       0     5/1/2020 10:51
 NM Good Neighbor
 Partnership               0       0     5/1/2020 10:50
 No9 News                  0       0     5/1/2020 10:51
 Nonko roup                0       0     5/1/2020 10:50
 north Shore Energy
 Engineering Inlt          0       0     5/1/2020 10:50
 North Shore Energy
 Engineering Intl          0       0     5/1/2020 10:50

 Nova Entergy Solutions    0       0     5/1/2020 10:50
 NQ Land & Cattle          0       0     5/1/2020 10:50
 NSRD Management           0       0     5/1/2020 10:52
 NSRD Mgmt                 0       0     5/1/2020 10:50
 nwah!                     0       0     5/1/2020 10:50
 Nyala Intl Group          0       0     5/1/2020 10:50

 Ocaeanfront Real Estate   0       0     5/1/2020 10:50
 Ocenawise Holdings        0       0     5/1/2020 10:50
 Offshore Complete
 Mgmt Program              0       0     5/1/2020 10:50

 Oil Sands Equipment &
 Supplies International    0       0     5/1/2020 10:50
 Oil Sands Equipment &
 Supplies Intl             0       0     5/1/2020 10:50
 Old Ranitan Capital       0       0     5/1/2020 10:50
 Old Union Tours           0       0     5/1/2020 10:50
 Omaha Group Funding       0       0     5/1/2020 10:50
 Omni Printing &
 Graphics                  0       0     5/1/2020 10:50
 Omniscient Holdigns       0       0     5/1/2020 10:50
 Opus Mgmt                 0       0     5/1/2020 10:50
 Orthepedic Implant
 Science & Design          0       0     5/1/2020 10:50
 Orthepedic Implant
 Science&Design            0       0     5/1/2020 10:52
 Orthopedic Impant
 Science & Design          0       0     5/1/2020 10:50
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 Orthopedic Impant
 Science&Design           0        0     5/1/2020 10:52
 Orthopedic Implant
 Science & Design         0        0     5/1/2020 10:50
 Outwourced
 Investments              0        0     5/1/2020 10:50
 Overseas Inv. Mgmt       0        0     5/1/2020 10:50
 Overseas Investment
 Mgmt                     0        0     5/1/2020 10:50
 Overseas investments
 Management               0        0     5/1/2020 10:50
 Overseas Investments
 Mgmt                     0        0     5/1/2020 10:50
 Overseas Invstments
 Management               0        0     5/1/2020 10:50
 Ozylus                   0        0     5/1/2020 10:50
 P & K Construction       0        0     5/1/2020 10:50
 P & R Transportation     0        0     5/1/2020 10:50
 P&R Transportation       0        0     5/1/2020 10:52
 Pacer Mgmt               0        0     5/1/2020 10:50
 Pacfic Shangri La        0        0     5/1/2020 10:50
 Pacific Boast Clearing   0        0     5/1/2020 10:50
 Pamposh Design &
 Construction             0        0     5/1/2020 10:50
 Pangaea Investments &
 Acquisitions             0        0     5/1/2020 10:50
 Paradisc Solutions
 International            0        0     5/1/2020 10:50
 Paragon‐Petrofirst
 International            0        0     5/1/2020 10:50
 Paramount
 International Holdings   0        0     5/1/2020 10:50
 Pascal Femat
 Enterprises              0        0     5/1/2020 10:50
 Pascal Fermat Ent        0        0     5/1/2020 10:50

 Patamount Partnership    0        0     5/1/2020 10:50
 Peal Innovations
 International            0        0     5/1/2020 10:50
 Permix Intl              0        0     5/1/2020 10:50
 Persol Ent               0        0     5/1/2020 10:50
 Persol Enterprises       0        0     5/1/2020 10:50
 Pesol Enterprieses       0        0     5/1/2020 10:50
 Petro Celec              0        0     5/1/2020 10:50
 Petronaval Intl          0        0     5/1/2020 10:50
 Pharoah Investments      0        0     5/1/2020 10:50
 Pharsoh Investments
 Holdings Group           0        0     5/1/2020 10:50
 Pilgrim Enterprise       0        0     5/1/2020 10:50
 Pine Bush Estate         0        0     5/1/2020 10:52
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 Pine Bush Estate
 Mangement                  0      0     5/1/2020 10:50
 Pine Bush Real Estate
 Mgmt                       0      0     5/1/2020 10:50
 Pinner Intl                0      0     5/1/2020 10:50
 PK Consultants             0      0     5/1/2020 10:52
 PK Consultants USA         0      0     5/1/2020 10:50
 PMI Intl Ventures          0      0     5/1/2020 10:50
 Power Four Fitness
 Ridfefield                 0      0     5/1/2020 10:50
 Praising & Spirit Filled
 Center                     0      0     5/1/2020 10:50
 Premeone                   0      0     5/1/2020 10:50

 Premier Intl Enterprises   0      0     5/1/2020 10:50

 Premier Real Estate Inv    0      0     5/1/2020 10:50
 Premier Real Estate
 Investment                 0      0     5/1/2020 10:50
 Premier Resturant
 Group                      0      0     5/1/2020 10:50

 Prime Resturant Group      0      0     5/1/2020 10:50
 Prina Source               0      0     5/1/2020 10:50

 Princeton Holings Group    0      0     5/1/2020 10:50
 Prindle Captial            0      0     5/1/2020 10:50
 Professional
 Chiropractic Care          0      0     5/1/2020 10:52
 Professional
 Chiropractic Care PC       0      0     5/1/2020 10:50
 Professional Culinary
 Mgmt                       0      0     5/1/2020 10:50
 Prometheus Intl            0      0     5/1/2020 10:50
 Promethus
 International              0      0     5/1/2020 10:52
 Promethus Intl             0      0     5/1/2020 10:50
 Propect Industry           0      0     5/1/2020 10:50
 Proweb INC Montana         0      0     5/1/2020 10:50
 Pubiventas                 0      0     5/1/2020 10:50
 Pyrmid Beauty &
 Fashion                    0      0     5/1/2020 10:50
 QoopInvestment             0      0     5/1/2020 10:50
 Quality Management
 Group                      0      0     5/1/2020 10:52
 Quark Limited 12‐13        0      0     5/1/2020 10:50
 R & A Global Services      0      0     5/1/2020 10:50
 R & V Investments          0      0     5/1/2020 10:50
 R & W Contracting
 Services                   0      0     5/1/2020 10:50
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 Rality Holdings             0     0     5/1/2020 10:50
 Rambe Captial               0     0     5/1/2020 10:50
 Ramenshni & Associates
 technology &
 Engineering                 0     0     5/1/2020 10:50

 Ramenshni&Associates
 technology&Engineerin
 g                           0     0     5/1/2020 10:52
 Rameshini & Associates
 Technology &
 Engineering                 0     0     5/1/2020 10:50
 Rameshini&Associates
 Technology&Engineerin
 g                           0     0     5/1/2020 10:52
 Rameshni & Associates
 Technology &
 Engineering                 0     0     5/1/2020 10:50
 Ramneshni & Associates
 Technology &
 Engineering                 0     0     5/1/2020 10:50
 Randa Importers             0     0     5/1/2020 10:50
 RC Holdings                 0     0     5/1/2020 10:50
 Real Estate Holding
 Group                       0     0     5/1/2020 10:50
 Real Estate Holdngs
 Group                       0     0     5/1/2020 10:50
 Real Innovations Intl       0     0     5/1/2020 10:50
 Real Time Media             0     0     5/1/2020 10:50
 Redemption Holdings
 Intl                        0     0     5/1/2020 10:50
 Refund ‐ Qoop
 Technologies                0     0     5/1/2020 10:50
 Refund ‐Qoop
 Technologies                0     0     5/1/2020 10:50
 Regal Partners L            0     0     5/1/2020 10:50
 Reign Holdings &
 Investments                 0     0     5/1/2020 10:51
 Rent Equity 200             0     0     5/1/2020 10:51
 Richard Hyman intl          0     0     5/1/2020 10:51
 Rig QA Intl                 0     0     5/1/2020 10:51
 Ringtone Mgmt               0     0     5/1/2020 10:51
 Rizik International Rizik
 International               0     0     5/1/2020 10:51
 RLS Enterprieses            0     0     5/1/2020 10:51
 RM Marketing Inl            0     0     5/1/2020 10:51
 RM Marketing
 International               0     0     5/1/2020 10:52
 RML Management
 &Linda Silva Roberts
 Trusts                      0     0     5/1/2020 10:52
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 RML Management Trust     0        0     5/1/2020 10:51
 RML Mgmt & Linda Silva
 Roberts Trusts           0        0     5/1/2020 10:51
 Robert Joseph Group
 Intl                     0        0     5/1/2020 10:51
 Ross & KC Enterprises    0        0     5/1/2020 10:51
 Royal HH Group           0        0     5/1/2020 10:51
 S & A Global             0        0     5/1/2020 10:51
 S & R Procurement        0        0     5/1/2020 10:51
 S & S International      0        0     5/1/2020 10:51
 S S&A Global             0        0     5/1/2020 10:51
 Savory Seafood Mgmt      0        0     5/1/2020 10:51
 ScipsAmerica Rapi‐Med
 Royalty Pool             0        0     5/1/2020 10:51
 Scope Consulting Intl    0        0     5/1/2020 10:51
 SCS Prosessing           0        0     5/1/2020 10:51
 Sea Gulf Management      0        0     5/1/2020 10:52
 Sea Gulf Mgmt            0        0     5/1/2020 10:51
 Seadise Payday           0        0     5/1/2020 10:51
 Seaside TrustDeposit     0        0     5/1/2020 10:51
 Second City Mgmt         0        0     5/1/2020 10:51
 Sedation Reff            0        0     5/1/2020 10:51
 Sekots Mgmt Group        0        0     5/1/2020 10:51
 Serveral BVI and Nevis
 RA                       0        0     5/1/2020 10:51
 Setal Intl Holdings      0        0     5/1/2020 10:51
 Several Anguilla         0        0     5/1/2020 10:51
 Several CA Companies     0        0     5/1/2020 10:51
 Several compaines        0        0     5/1/2020 10:51
 Several DE               0        0     5/1/2020 10:52
 Several DE s             0        0     5/1/2020 10:51
 Several Nevis
 Companies                0        0     5/1/2020 10:51
 Shacklford Holding
 Group                    0        0     5/1/2020 10:51
 Shale Entergy
 International            0        0     5/1/2020 10:51
 Shang Ren Capital
 Mgmt                     0        0     5/1/2020 10:51
 Shelby Sebastian         0        0     5/1/2020 10:51
 SIM Marketing            0        0     5/1/2020 10:51
 Sivergate Group          0        0     5/1/2020 10:51
 SJM Marketing            0        0     5/1/2020 10:51
 Skin Preservation Intl   0        0     5/1/2020 10:51
 Skiyo Manugacturing      0        0     5/1/2020 10:51
 Softwar4Parents          0        0     5/1/2020 10:51
 Somedayy Enterprises     0        0     5/1/2020 10:51
 Star Britht China        0        0     5/1/2020 10:51
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 Star Import & Export      0       0     5/1/2020 10:51
 Starlight Asset
 Management                0       0     5/1/2020 10:51
 Starlight Asset Mgmt      0       0     5/1/2020 10:51
 Starlight Fund            0       0     5/1/2020 10:51
 Startegic Venture         0       0     5/1/2020 10:52
 Startegic Venture
 Partners                  0       0     5/1/2020 10:51

 Starts Holding Company    0       0     5/1/2020 10:51
 Stepping Stone Inv        0       0     5/1/2020 10:51
 StermPro Systems          0       0     5/1/2020 10:51
 Strategic IP Mgmt
 Services Ireland          0       0     5/1/2020 10:51
 Strategic Mgmt            0       0     5/1/2020 10:51
 Stray Arrow
 International             0       0     5/1/2020 10:51
 STX Services              0       0     5/1/2020 10:51
 Summer Investments        0       0     5/1/2020 10:51
 Sundance Deutsche
 Vanguard Holdings         0       0     5/1/2020 10:51
 Sunshine & Beaches        0       0     5/1/2020 10:51
 Sunshines & Beaches       0       0     5/1/2020 10:51
 SWE Intl                  0       0     5/1/2020 10:51
 Sybac Solat Latam         0       0     5/1/2020 10:51
 T & C DataSolutions       0       0     5/1/2020 10:51
 T & H Land
 Management                0       0     5/1/2020 10:51
 T.M. Holdings &
 Investments               0       0     5/1/2020 10:51
 TA Prod                   0       0     5/1/2020 10:51
 Tai Enterprises           0       0     5/1/2020 10:51
 Tanio Del Bosque Coffee
 Company                   0       0     5/1/2020 10:51
 Tatianna Vidal            0       0     5/1/2020 10:51
 Tatis' Kitchen 11‐13      0       0     5/1/2020 10:51
 Taylors RLT               0       0     5/1/2020 10:51
 TC Lee                    0       0     5/1/2020 10:51
 Technatic Enterprises     0       0     5/1/2020 10:51
 Telecom Complaince
 Services                  0       0     5/1/2020 10:51
 Tellex International      0       0     5/1/2020 10:51

 TerraNova International   0       0     5/1/2020 10:51
 Timble Enterprises        0       0     5/1/2020 10:51
 Tital Holdings &
 Investments               0       0     5/1/2020 10:51
 Tital
 Holdings&Investments      0       0     5/1/2020 10:52
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 Titan Holdings &
 Investments                0      0     5/1/2020 10:51
 TK Properties              0      0     5/1/2020 10:51
 TM & M Holdings            0      0     5/1/2020 10:51
 TM&M Holdings              0      0     5/1/2020 10:52
 Today International
 Brokers                    0      0     5/1/2020 10:51
 Totis Oil & Gas
 International              0      0     5/1/2020 10:51
 Town Mgmt                  0      0     5/1/2020 10:51
 Trade Concept              0      0     5/1/2020 10:51
 Treydr Holdings            0      0     5/1/2020 10:51
 Tri State Intl             0      0     5/1/2020 10:51
 Tri State Mgmt Group       0      0     5/1/2020 10:51
 Trilogy Group Intl         0      0     5/1/2020 10:51

 Trimstone Holding Trust    0      0     5/1/2020 10:51
 Trinity Financial Group
 Limited 12‐13              0      0     5/1/2020 10:51
 Trinity Financial Group
 Limited 13‐14              0      0     5/1/2020 10:51
 Trinity Financial Group
 Limited 14‐15              0      0     5/1/2020 10:51
 TriState Intl              0      0     5/1/2020 10:51
 TriState Trust Holdings    0      0     5/1/2020 10:51
 Trucha Consulting          0      0     5/1/2020 10:51
 TS Internatioanl           0      0     5/1/2020 10:51
 Turi Defense Group         0      0     5/1/2020 10:51
 Turkey Ventures            0      0     5/1/2020 10:51
 TZ Productions             0      0     5/1/2020 10:51
 Underdog Avocate           0      0     5/1/2020 10:51
 Unfunds Intl               0      0     5/1/2020 10:51
 United Claimes             0      0     5/1/2020 10:51
 Universal Import &
 Export                     0      0     5/1/2020 10:51
 Universal Impulse Mgmt
 Group                      0      0     5/1/2020 10:51
 Universal Venture          0      0     5/1/2020 10:51
 Urgent Medcare
 International              0      0     5/1/2020 10:52
 Urgent Medcare Int'l       0      0     5/1/2020 10:51
 Uriah Intl Ventures        0      0     5/1/2020 10:51
 US Young Chang             0      0     5/1/2020 10:51
 Utah Home Warrenty         0      0     5/1/2020 10:51

 Vacation in Paradis Prop   0      0     5/1/2020 10:51
 Vahalla Investmetns        0      0     5/1/2020 10:51
 Val Holdings               0      0     5/1/2020 10:52
 Val Holdings Group         0      0     5/1/2020 10:51
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 Vanessa Allen ‐
 Etincelant                0       0     5/1/2020 10:51
 Vast Mgmt Holdings        0       0     5/1/2020 10:51
 Velka US                  0       0     5/1/2020 10:51
 Venture Capital Mgmt      0       0     5/1/2020 10:51
 Vine Mgmt                 0       0     5/1/2020 10:51
 Viritgo                   0       0     5/1/2020 10:52
 Viritgo Bros              0       0     5/1/2020 10:51
 Virtnosity Victory        0       0     5/1/2020 10:51
 Vision Alliance Con       0       0     5/1/2020 10:51
 Vision Alliance
 Consulting                0       0     5/1/2020 10:51
 Vituvian                  0       0     5/1/2020 10:51
 Vituvian & Cardinal
 Industires                0       0     5/1/2020 10:51
 Vituvian&Cardinal
 Industires                0       0     5/1/2020 10:52
 Vlanvale & Associates     0       0     5/1/2020 10:51

 WBU Enterprises Group     0       0     5/1/2020 10:51
 Wenny Cui Enterpirses     0       0     5/1/2020 10:51
 West Main Properties
 LC                        0       0     5/1/2020 10:51
 Wheeler Marketing &
 Associates                0       0     5/1/2020 10:51
 Wholsale Source           0       0     5/1/2020 10:51

 William Wiliams 9 Trust   0       0     5/1/2020 10:51
 Williams 9 Williams       0       0     5/1/2020 10:51
 Wilson Capital Group
 International Holdings    0       0     5/1/2020 10:51
 WIND & SKY                0       0     5/1/2020 10:51
 Windward Global           0       0     5/1/2020 10:51
 Winning Techology
 International             0       0     5/1/2020 10:51
 Winston Intl Ventures     0       0     5/1/2020 10:51
 Wire Fee ANSGroup         0       0     5/1/2020 10:51

 Wire fee Grampian Hills
 Resources International   0       0     5/1/2020 10:51
 Wire Fee Zikru            0       0     5/1/2020 10:51
 WISE MARIN Wise
 Automotive                0       0     5/1/2020 10:51
 Woodbury Office Fice      0       0     5/1/2020 10:51

 Woodlawn Partnership      0       0     5/1/2020 10:51
 World Serviices           0       0     5/1/2020 10:51
 World Trade Intl          0       0     5/1/2020 10:51
 Worldwide Import &
 Export                    0       0     5/1/2020 10:51
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 Worldwide Prosperity
 Gourp                     0       0     5/1/2020 10:51
 Wrong CC Charged          0       0     5/1/2020 10:51
 WSOT Intl                 0       0     5/1/2020 10:51

 Wylde & Strate
 International Resources   0       0     5/1/2020 10:51
 Wyoming Berea Florida
 Homes                     0       0     5/1/2020 10:51
 Xenith Offers             0       0     5/1/2020 10:51
 Yash & Deep Web
 Development               0       0     5/1/2020 10:51
 Yaweh Group               0       0     5/1/2020 10:51
 Yellow & Stripe           0       0     5/1/2020 10:51
 Yoda Media                0       0     5/1/2020 10:51
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                                                                                                                                                  Articles of Organization
                                                       Operating Agreement




                                                                                                        diligence information
OCI ROW on Master




                                                                             Members Certificate




                                                                                                         Related person due




                                                                                                                                                                                   Type of Document




                                                                                                                                                                                                                                                                                 Reference: Row on
                                                                                                         (Passport/Address)




                                                                                                                                Incorporation
                                                                                                                                 Certificate of




                                                                                                                                                                                                                                                                                    Wessell List
                                                                                                                                                                                                                                                      Reference
       List




                                                                                                                                                                             All
                              Entity Name                                                                                                                                                                                         NOTE




                                                                                                                                                                                   Cert of Good Standing; Check                                       WESSELL‐ESI2‐0001873147;
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                                                                                                                                                                                                                                                                                 Identifed from Wessell
                    Reed Engineering Consultants LDC        ‐                     ‐                                                                   ‐                          CC Auth
New                                                                                                                                                                                                                               Joan Wessell                                   Production
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                       Sea Gull Management LDC                                                                                                                                                                                                       WESSELL‐ESI2‐0001918340    351
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New                                                                                                                                                                                Corporation Services Limited                                                                  Production
                                                                                                                                                                                   List of active LDC names from Belize                               WESSELL‐ESI2‐0001918340;   Identifed from Wessell
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